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   TRUSTEES OF BOSTON UNIVERSITY v. EVERLIGHT ELEC. CO., INC. ET AL.,
          United States District Court, District of Massachusetts
                Consolidated Case No. 12‐cv‐11935‐PBS




Declaration of Stephen C. Steinberg In Support of Defendants’ Motion
         for Finding of Contempt by Plaintiff’s Lead Counsel




                       EXHIBIT: 1
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From:             Michael Shore
To:               Yang, Ming
Cc:               Yoches, Bob
Subject:          RE: New BU Suits, Rule 408
Date:             Wednesday, September 18, 2013 5:53:13 AM



Ming,

You appear to be in Asia. Travel safely and please share my actual emails with your client just as I
have shared yours with Vinit.

BU shared examples of detailed reverse engineering with RPX. Infringement is certain under Judge
Hamilton's prior claims construction. Your clients understand that from a technical standpoint.

The BU position has been reasonable, and I think when you are not posturing, you know that.
Making BU file all the additional suits has raised the profile of the case at BU to the point it is
controlled at the presidential level. That makes things much harder to settle at a discount.

I suggest that you get Epistar focused on a solution. You cannot win this case at trial; not because
your firm lacks ability, but because the patent is valid and obviously infringed. In the end, the merits
generally prevail.

MWS

Sent from my Windows Phone

From: Yang, Ming
Sent: 9/18/2013 2:14 AM
To: Michael Shore
Cc: Robert Yoches
Subject: RE: New BU Suits, Rule 408

Michael:
We have asked for critical information from your client that it refuses to provide, including
specifically:

1. Some explanation of why BU believes Everlight’s products infringe that do not rely on generic
drawings (BU has represented that it has reverse engineering data but refuses to provide the
complete data it has).
2. Some explanation for why BU is entitled to pre-suit damages given the admission that it has made
no efforts to ensure marking by licensees and has not provided all agreements requiring/not
requiring such marking.
3. An economic basis for BU’s royalty demand, including all of its prior licenses.
If BU, however, is interested in good faith negotiation, Everlight is willing to evaluate the
information and make a counter offer if BU provides the requested information and supporting
documents by September 24, 2013.
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Best regards,
Ming

From: Michael Shore [mailto:mshore@ShoreChan.com]
Sent: Monday, September 09, 2013 11:51 AM
To: Yang, Ming; Jennifer Jonak; Schultz, Christopher; Jeffrey Lerner; BU Defendants Global Counsel List
Subject: RE: New BU Suits, Rule 408

Counselors,

For those of you who are not Samsung, Epistar or SSC representatives, any defendant can settle
separately for (1) a amount equal to 2% of their worldwide purchases of GaN LED devices from
January 1, 2009 to the present, plus either 2% of GaN LED purchases from September 30, 2013 until
December 31, 2014 or until their suppliers are licensed; OR (2) pay $2.5 million in a lump sum by
September 30, 2013 for a release for all past acts of infringement and the freedom to source going
forward from any manufacturer in the form of a covenant not to sue.

Michael

From: Michael Shore
Sent: Monday, September 09, 2013 1:19 PM
To: ming.yang@finnegan.com; Jennifer Jonak; Christopher Schultz; Lerner, Jeffrey (jlerner@cov.com);
BU Defendants Global Counsel List
Subject: New BU Suits, Rule 408

Counselors,

BU has given approval to file the following additional suits. These cases will be filed not later than
Monday, September 16, 2013. These suits will primarily be based upon parts manufactured by Seoul
Semiconductor, Epistar and Samsung.

SSC, Epistar and Samsung can settle the controversies between them and BU for $12.5 million (US)
each if such settlement is agreed in principle before the new round of suits have to be filed. In
addition, approximately 15 more companies will be placed on actual notice that parts manufactured
by SSC, Epistar and Samsung infringe BU’s patents. Those customers will also be sued at a later date.
 Each customer will know that it was sued purely as a result of your clients’ refusal to either engage
in reasonable discussions or agree that damages in the manufacturer cases can be based upon
worldwide sales without proof of inducement.

BU understands that your clients have every right to insist on proof of inducement. BU also expects
your clients to understand that BU has the right to sue direct infringers who import, sell, offer to sell
and use the infringing devices in the United States, regardless of where they obtain them initially.
This may simply be a situation where the only route to justice is an inefficient one.

    1. Acer
    2. AOC
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     3. ASUS
     4. BenQ
     5. Blackberry
     6. Canon
     7. Dell
     8. Fujifilm
     9. Hannspress
     10. Harvatek
     11. HTC
     12. Kingbright
     13. Kodak
     14. Lenovo
     15. Microsoft
     16. Motorola
     17. NEC
     18. Nikon
     19. Nokia
     20. Olympus
     21. Panasonic
     22. Pentax
     23. Rohm
     24. Sharp
     25. Sony
     26. Stanley Electric
     27. Tatung
     28. Toshiba
     29. ViewSonic
     30. Vizio

BU would like to resolve the litigation between itself and SSC, but the longer this goes on, the more
expensive it will become to settle. The offer above is less expensive than litigation, utilizes a very low
royalty rate compared to the sales involved and it takes into account the risks of a finding of
invalidity (very unlikely) or non-infringement (even less unlikely). To avoid these 30 cases being filed
and an extreme escalation in BU’s demands as a result, substantial progress in settlement must be
made this week. Because of the number of suits involved, BU’s President and Board of Trustees are
directly involved in the decision-making process. I suggest that each of you escalate the decision-
making to a similar level at your companies.

Michael W. Shore

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confidential, proprietary, or otherwise exempt from disclosure under applicable law. If you believe you have received this message in
error, please advise the sender by return e-mail and delete it from your mailbox. Thank you.
